Case 1:19-cv-02669-LTB-GPG Document 17 Filed 12/20/19 USDC Colorado Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Civil Action No. 19-cv-02669-LTB-GPG

  PAMELA C. KERSTEN,

        Plaintiff,

  v.

  LARIMER COUNTY, COLORADO,
  MAGISTRATE MATTHEW ZEHE,
  JEANNIE BRUENNING,
  JEFFREY BRUENNING,
  RAUN BRUENNING,
  MEGAN BRUENNING,
  AUSTYN FORD,
  BRIAN FORD,
  KIRK WAIBLE, Attorney,
  KATHRYN LEES, Court Family Investigator,
  JOHNNY MARTINEZ, San Luis Obispo County Juvenile Services Center,
  NICHOLE EVANS, Probation Officer Larimer County, and
  PLATTE VALLEY YOUTH SERVICES,

        Defendants.


                                          ORDER


        This matter is before the Court on the document titled “Response and Objection

  to (ECF No. 13) to Obtain Reconsideration by the District Judge” (ECF No. 14) filed by

  Plaintiff on December 11, 2019. The Response and Objection will be denied for the

  following reasons.

        Plaintiff initiated this action on September 18, 2019 by filing a Civil Complaint

  (ECF No. 1) and an Application to Proceed in District Court Without Prepaying Fees or

                                              1
Case 1:19-cv-02669-LTB-GPG Document 17 Filed 12/20/19 USDC Colorado Page 2 of 4




  Costs (ECF No. 2). In response to an Order Directing Plaintiff to Cure Deficiencies

  (ECF No. 4), Plaintiff submitted, on September 25, 2019, a Complaint (ECF No. 5) on

  the Court-approved form. On October 1, 2019, the Court granted Plaintiff leave to

  proceed in forma pauperis. (ECF No. 8).

        On October 8, 2019, the Court entered an Order Directing Plaintiff to File an

  Amended Complaint (ECF No. 9). The time to comply expired on November 8, 2019.

        On November 14, 2019, the matter was assigned to Senior Judge Lewis T.

  Babcock pursuant to D.C.COLO.LCivR 8.1. (ECF No. 10). The matter was referred to

  Magistrate Judge Gordon P. Gallagher on November 15, 2019. (ECF No. 11). On

  November 20, 2019, Magistrate Judge Gallagher entered a Recommendation of United

  States Magistrate Judge (ECF No. 13) recommending that the Complaint filed on

  September 25, 2019 be dismissed. Magistrate Judge Gallaher was unaware that on the

  same day, the Clerk of the Court entered on the docket an Amended Complaint (ECF

  No. 12), which had been submitted by Plaintiff to the Court on November 14, 2019.

        On December 5, 2019, the deadline to file written objections to the

  Recommendation expired. On December 12, 2019, the Court found that no timely

  objection to the Recommendation had been filed and Plaintiff was barred from de novo

  review. (ECF No. 15). The Court further accepted and adopted the Recommendation

  and dismissed the Complaint (ECF No. 5) and the action. The same day the action was

  dismissed, the Clerk of the Court entered Plaintiff’s Response and Objection (ECF No.

  14), which was time-stamped as filed on December 11, 2019.



                                             2
Case 1:19-cv-02669-LTB-GPG Document 17 Filed 12/20/19 USDC Colorado Page 3 of 4




         First, the Amended Complaint (ECF No. 12) that was filed on November 14,

  2019, and entered on the docket on November 20, 2019, was untimely. Plaintiff was

  directed in the October 8, 2019 order to amend file an amended pleading within thirty

  days, or on or before November 8, 2019. Thus, even if the Amended Complaint had

  been entered on the docket on November 14, 2019, the same day it had been

  submitted by Plaintiff to the Court, it was filed six days after the deadline to comply had

  expired.

         Similarly, the Response and Objection filed on December 11, 2019 also was

  untimely. The Recommendation provided that any written objections had to be filed

  within 14 days, or on or before December 5, 2019. Again, the Response and Objection

  was filed six days after this deadline.

         Moreover, even if the Court accepts the Amended Complaint (ECF No. 12) as

  timely filed, the deficiencies identified in the Recommendation of United States

  Magistrate Judge (ECF No. 13) remain: (1) the Court lacks jurisdiction over the action

  because there is not complete diversity among the parties; and (2) the claims asserted

  pursuant to 42 U.S.C. § 1983 cannot be brought against non-state actors, are subject to

  dismissal under the Rooker-Feldman and/or Younger abstention doctrines, and are

  barred by judicial or quasi-judicial immunity.

         Accordingly, it is

         ORDERED that Plaintiff’s “Response and Objection to (ECF No. 13) to Obtain

  Reconsideration by the District Judge” (ECF No. 14) is DENIED.



                                               3
Case 1:19-cv-02669-LTB-GPG Document 17 Filed 12/20/19 USDC Colorado Page 4 of 4




        DATED at Denver, Colorado, this   20th    day of   December , 2019.

                                                 BY THE COURT:

                                                 s/Lewis T. Babcock
                                                 LEWIS T. BABCOCK, Senior Judge
                                                 United States District Court




                                          4
